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1                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF SOUTH CAROLINA
2                                  FLORENCE DIVISION
                           CASE NO. 4:23-cv-01720-JD
3
4       JONATHAN LEWIS,
5                          Plaintiff,
6                 vs.
7       CIRCLE K STORES, INC.,
8                          Defendant.
9
10      DEPOSITION OF:             NOLAN ALBERT WAPLES
11      DATE:                      March 7, 2024
12      TIME:                      11:58 a.m.
13      LOCATION:                  Morgan & Morgan
                                   11915 Plaza Drive, Suite 301
14                                 Murrells Inlet, South Carolina
15      TAKEN BY:                  Counsel for the Plaintiff
16      REPORTED BY:               KAREN M. BECKMAN, CSR
17      ___________________________________________________
18
19
20
21
22
23
24
25

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1       about possibly putting a wet floor sign up when we
2       do that kind of thing.
3                 Q.       Okay.      So why did you think of or why
4       did you recommend putting a wet floor sign out when
5       you were doing that type of activity?
6                 A.       Because of the incident that happened
7       with him.
8                 Q.       What particular about the incident?
9                 A.       Just him falling.
10                Q.       Was it your understanding that
11      Mr. Lewis had slipped?
12                A.       Yes.      You could see his visible slip
13      mark on the painted lines.
14                Q.       Okay.      All right.
15                         And then that's why you would have
16      recommended the caution slippery area --
17                A.       Correct.
18                Q.       -- sign?
19                A.       After the fact, yes.
20                Q.       Okay.      All right.
21                         And looking at this report --
22                A.       Uh-huh.
23                Q.       -- and again I know you haven't seen
24      Plaintiff's Exhibit 4, but if you look at the line
25      items that says Incident Type --

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1                 A.       Yes.
2                 Q.       -- incident Type Type --
3                 A.       Yes.
4                 Q.       Slip, trip, and fall --
5                 A.       Correct.
6                 Q.       And again you considered it to be a
7       slip and fall, correct?
8                 A.       Correct.
9                 Q.       And it was your understanding or based
10      on what you observed, that Mr. Lewis had indeed
11      slipped on that white stripe that was in front of
12      the Circle K?
13                A.       Correct.
14                Q.       That area where Mr. Lewis slipped,
15      that's like the main entrance into the store,
16      right?
17                A.       Correct.
18                         Several people walked through it while
19      it was wet prior to him.
20                Q.       Okay.      All right.
21                         And so why do you bring that up?
22                A.       I don't know.            I just felt like
23      something to say.             I mean, there was several people
24      that walked through there and he slipped.                             I mean,
25      you know, obviously things happen, but...

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